Case 3:16-md-02738-MAS-RLS Document 29164-6 Filed 02/29/24 Page 1 of 1 PageID:
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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                     Case No. 3:16-md-2738-MAS-RLS
  MARKETING, SALES PRACTICES
                                             MDL Case No. 2738
  AND PRODUCTS LIABILITY
  LITIGATION



                         CERTIFICATE OF SERVICE

       I hereby certify that true and correct copies of Johnson & Johnson and LLT

 Management LLC’s Notice of Motion to Quash or for a Protective Order

 Regarding Subpoena Directed at PricewaterhouseCoopers, LLP (“PwC”), its

 Memorandum of Law in support thereof, Declaration of Stephen D. Brody

 certifying compliance with Rule 37.1(b)(1) and accompanying exhibits, and

 Declaration of Erik Haas were served electronically via the Court’s CM/ECF

 system on February 29, 2024. Copies of the foregoing documents are also being

 sent by email to Plaintiffs’ Co-Lead Counsel and counsel for PwC.



                                      By:   /s/ Stephen D. Brody
                                            Stephen D. Brody
